           Case 1:16-vv-01685-UNJ Document 60 Filed 05/03/19 Page 1 of 7




In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS

******************** *
GLORIA BOESKE,           *
                         *                         No. 16-1685V
             Petitioner, *                         Special Master Christian J. Moran
                         *
v.                       *                         Filed: April 4, 2019
                         *
SECRETARY OF HEALTH      *                         Stipulation; Hepatitis A vaccine;
AND HUMAN SERVICES,      *                         SIRVA; shoulder injury.
                         *
             Respondent. *
******************** *

Jeffrey Pop, Jeffrey S. Pop & Associates, Beverly Hills, CA, for Petitioner;
Mollie Gorney, United States Dep’t of Justice, Washington, DC, for Respondent.

                             UNPUBLISHED DECISION1

       On April 4, 2019, the parties filed a joint stipulation concerning the petition
for compensation filed by Gloria Boeske on December 22, 2016. Petitioner
alleged that the Hepatitis A vaccine she received on July 23, 2015, which is
contained in the Vaccine Injury Table (the “Table”), 42 C.F.R. §100.3(a), caused
her to suffer from a right shoulder injury related to vaccination administration
(“SIRVA”). Petitioner further alleges that she suffered the residual effects of this
injury for more than six months. Petitioner represents that there has been no prior
award or settlement of a civil action for damages on her behalf as a result of her
condition.

      Respondent denies that the Hepatitis A vaccine caused petitioner to suffer
from SIRVA or any other injury.

       1
         The E-Government Act, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services), requires that the Court post this decision on its
website. Pursuant to Vaccine Rule 18(b), the parties have 14 days to file a motion proposing
redaction of medical information or other information described in 42 U.S.C. § 300aa-12(d)(4).
Any redactions ordered by the special master will appear in the document posted on the website.
           Case 1:16-vv-01685-UNJ Document 60 Filed 05/03/19 Page 2 of 7




      Nevertheless, the parties agree to the joint stipulation, attached hereto. The
undersigned finds said stipulation reasonable and adopts it as the decision of the
Court in awarding damages, on the terms set forth therein.

       Damages awarded in that stipulation include:

       A lump sum payment of $60,000.00 in the form of a check payable to
       petitioner. This amount represents compensation for all damages that
       would be available under 42 U.S.C. § 300aa-15(a).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment in case 16-1685V according to this decision
and the attached stipulation.2

       IT IS SO ORDERED.

                                                     s/Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




       2
          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.
                                                2
Case 1:16-vv-01685-UNJ Document 60 Filed 05/03/19 Page 3 of 7
Case 1:16-vv-01685-UNJ Document 60 Filed 05/03/19 Page 4 of 7
Case 1:16-vv-01685-UNJ Document 60 Filed 05/03/19 Page 5 of 7
Case 1:16-vv-01685-UNJ Document 60 Filed 05/03/19 Page 6 of 7
Case 1:16-vv-01685-UNJ Document 60 Filed 05/03/19 Page 7 of 7
